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      United States Attorney
 2    AMBER M. CRAIG
      Assistant United States Attorney
 3    333 Las Vegas Blvd. South, Suite 5000
      Las Vegas, Nevada 89101
 4    PHONE: (702) 388-6336
      FAX: (702) 388-6698
 5
                                    UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
                                                -oOo-
 7
      UNITED STATES OF AMERICA,                               2:13-cr-029-APG-GWF
 8
                             Plaintiff,                       MOTION TO CONTINUE
 9                                                            GOVERNMENT’S DEADLINE TO
                  vs.                                         DEFENDANT’S OBJECTIONS TO
10                                                            MAGISTRATE COURT’S FINDINGS
      DAVID ALLEN GARRETSON,                                  AND RECOMMENDATION
11                                                            (Motion to Dismiss, Docket #50)
                            Defendant.
12
             The United States of America, by and through DANIEL G. BOGDEN, United States
13
      Attorney, and AMBER M. CRAIG, Assistant United States Attorney, respectfully move this Court
14
      to continue the Government’s deadline to respond to the Defendant’s Objections to the Magistrate
15
      Court’s Findings and Recommendation from August 9, 2013, to August 16, 2013.
16
             This motion is entered into based on the following:
17
             1. Following the Honorable Magistrate Judge George Foley’s issuing his Report and
18
      Recommendation (R&R) that Defendant’s Motion to Dismiss be denied, the parties initiated plea
19
      negotiations. Defense counsel requested that the Government hold off on preparing and filing its
20
      response to the Defendant’s Objections to the R&R until such time as the plea negotiations were
21
      complete. On July 18, 2013, the parties submitted a Stipulation (Docket #87) to continue the
22
      Government’s deadline to respond to the Objections, so that plea negotiations could be finalized.
23
      The Court granted the stipulation on July 19, 2013, and set the Government’s deadline for August 2,
24


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 2    2013 (Docket #88). On July 28, 2013, defense counsel informed the Government that the Defendant

 3    declined the Government’s plea offer. The parties then filed another stipulation, requesting that the

 4    Government’s response deadline be continued to August 9, 2013, and that the Defendant’s deadline

 5    to file objections to the Report and Recommendation to dismiss Defendant’s Motion to Suppress be

 6    continued (Docket #93).

 7               2. Due to Government counsel’s current case load, in conjunction with Government

 8    resource and staffing issues, Government counsel needs an additional week to prepare its response to

 9    the Defendant’s objections. Therefore, the Government respectfully requests that its deadline be

10    continued to August 16, 2013.

11               3. Government counsel spoke with defense counsel, Brenda Weksler, who stated that she

12    will not be filing an opposition to this Motion.

13               4. Trial in this matter was continued to November 4, 2013.

14               5. For the reasons stated above, the ends of justice would best be served by a continuance of

15    the response deadline.

16               6. Additionally, denial of this request for continuance could result in a miscarriage of

17    justice.

18               7. The additional time requested by this Stipulation is excludable in computing the time

19    within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United

20    States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18, United

21    States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).

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 1

 2               8. This is the first motion for a continuance filed herein. 1

 3               DATED this 9th day of August, 2013.

 4                                                                    Respectfully Submitted,

 5                                                                    DANIEL G. BOGDEN
                                                                      United States Attorney
 6
                                                                       /s/ Amber M. Craig_______
 7                                                                    AMBER M. CRAIG
                                                                      Assistant United States Attorney
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24        The Government’s response deadline was continued twice based upon stipulations of the parties.

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 2
                                    UNITED STATES DISTRICT COURT
 3                                       DISTRICT OF NEVADA
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 4
      UNITED STATES OF AMERICA,
 5
                             Plaintiff,                        2:13-cr-029-APG-GWF
 6
                  vs.                                         FINDINGS OF FACT, CONCLUSIONS
 7                                                            OF LAW, AND ORDER
      DAVID ALLEN GARRETSON,
 8
                             Defendant.
 9                                          FINDINGS OF FACT

10           Based upon the pending Stipulation of counsel, and good cause appearing therefore, the

11    Court finds that:

12           1. Following the Honorable Magistrate Judge George Foley’s issuing his Report and

13    Recommendation (R&R) that Defendant’s Motion to Dismiss be denied, the parties initiated plea

14    negotiations. Defense counsel requested that the Government hold off on preparing and filing its

15    response to the Defendant’s Objections to the R&R until such time as the plea negotiations were

16    complete. On July 18, 2013, the parties submitted a Stipulation (Docket #87) to continue the

17    Government’s deadline to respond to the Objections, so that plea negotiations could be finalized.

18    The Court granted the stipulation on July 19, 2013, and set the Government’s deadline for August 2,

19    2013 (Docket #88). On July 28, 2013, defense counsel informed the Government that the Defendant

20    declined the Government’s plea offer. The parties then filed another stipulation, requesting that the

21    Government’s response deadline be continued to August 9, 2013, and that the Defendant’s deadline

22    to file objections to the Report and Recommendation to dismiss Defendant’s Motion to Suppress be

23    continued (Docket #93).

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 2               2. Due to Government counsel’s current case load, in conjunction with Government

 3    resource and staffing issues, Government counsel needs an additional week to prepare its response to

 4    the Defendant’s objections. Therefore, the Government respectfully requests that its deadline be

 5    continued to August 16, 2013.

 6               3. Government counsel spoke with defense counsel, Brenda Weksler, who stated that she

 7    will not be filing an opposition to this Motion.

 8               4. Trial in this matter was continued to November 4, 2013.

 9               5. For the reasons stated above, the ends of justice would best be served by a continuance of

10    the response deadline.

11               6. Additionally, denial of this request for continuance could result in a miscarriage of

12    justice.

13               7. The additional time requested by this Stipulation is excludable in computing the time

14               8. within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,

15    United States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18,

16    United States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).

17                                            CONCLUSIONS OF LAW

18               The ends of justice served by granting said continuance outweigh the best interest of the

19    public and the Defendant in a speedy trial, since the failure to grant said continuance would be likely

20    to result in a miscarriage of justice, would deny the parties herein sufficient time and the opportunity

21    within which to be able to effectively and thoroughly prepare for trial, taking into account the

22    exercise of due diligence.

23               The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United

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 2    States Code, Sections 3161(h)(1)(A), (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).

 3                                                  ORDER

 4           IT IS THEREFORE ORDERED that the Government’s deadline to file its response to

 5    Defendant’s Objections to Magistrate Court’s Findings and Recommendations, currently scheduled

 6    for August 9, 2013, be vacated and continued to the ____          August
                                                          16th day of __________________, 2013.

 7           DATED this ____          August
                        9th day of _______________, 2013.

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                                                            UNITED STATES DISTRICT JUDGE
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